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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND

JAMES BUECHLER                      *

        Plaintiff,                  *

v.                                  *       Case No. 12-cv-1568-WMN

META FINANCIAL GROUP,               *
INC.,
                                    *
and
                                    *
METABANK
                                    *
and
                                    *
META PAYMENT SYSTEMS
                                    *
and DOES 1-10, inclusive,
                                    *
        Defendants.
*       *   *   *        *     *    *       *    *     *     *     *     *

        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, James Buechler, by his undersigned counsel, voluntarily

dismisses this action with prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). No opposing party has served either an answer or a motion for

summary judgment.




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Dated: August 7, 2012              Respectfully Submitted,



                            By :   /s/ E. David Hoskins
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